    Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 1 of 19 Page ID #:1




    1      ALEXANDER B. CVITAN (SBN 81746)
           E-mail: alc@rac-law.com
    2      MARSHA M. HAMASAKI (SBN 102720),
           E-mail: marshah@rac-law.com;
    3      PETER A. HUTCHINSON (SBN 225399) and
           E-mail: peterh@rac-law.com,
    4      ZANE T. PRECIADO (SBN 332853)
           E-mail: zanep@rac-law.com,
    5      REICH, ADELL & CVITAN, A Professional Law Corporation
           3550 Wilshire Blvd., Suite 2000
    6      Los Angeles, California 90010-2421
           Telephone: (213) 386-3860; Facsimile: (213) 386-5583
    7
           Attorneys for Plaintiff
    8
                                     UNITED STATES DISTRICT COURT
    9
                                CENTRAL DISTRICT OF CALIFORNIA
   10
   11      CONSTRUCTION LABORERS                         CASE NO.:
           TRUST FUNDS FOR SOUTHERN
   12      CALIFORNIA ADMINISTRATIVE
           COMPANY, a Delaware limited liability         COMPLAINT FOR:
   13      company,                                      1. MONETARY DAMAGES OF
   14                                                       UNPAID FRINGE BENEFITS
                               Plaintiff,                   AND RELATED DAMAGES DUE
   15                                                       TO EMPLOYEE BENEFIT
   16             v.                                        PLANS;
                                                         2. SPECIFIC PERFORMANCE OF
   17                                                       OBLIGATION TO PRODUCE
   18      STREAMLINE INTEGRATION, a                        RECORDS FOR A COMPLETE
           California corporation; BRIAN                    AUDIT;
   19      THOMAS ARMSTRONG, an                          3. INJUNCTIVE RELIEF
           individual,
   20                                                       COMPELLING SUBMISSION OF
                                                            FRINGE BENEFIT
   21                                                       CONTRIBUTIONS
   22                          Defendants.               4. MONETARY DAMAGES FOR
                                                            BREACH OF SETTLEMENT
   23                                                       AGREEMENT
   24                                                       [29 U.S.C. §§ 185, 1105, 1109.
                                                            1132(a)(3), 1132(g)(2) and 1145;
   25                                                       28 U.S.C. § 1367(a);]
   26
   27            Plaintiff, Construction Laborers Trust Funds for Southern California
   28      Administrative Company, a Delaware limited liability company, alleges:

433196.2                                             1
    Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 2 of 19 Page ID #:2




    1                                JURISDICTION AND VENUE
    2           1.     This action is brought by a fiduciary administrator on behalf of
    3      employee benefit plans against an employer. It is brought in accordance with the
    4      terms and conditions of the plans, the collective bargaining and plan trust
    5      agreements, and applicable statutes, for the following reasons: (a) recover unpaid
    6      monthly employee fringe benefit contributions and related damages due to the plans
    7      by the employer through enforcement of the terms of the collective bargaining
    8      agreements, plan agreements and applicable statutes (“Claim 1”); (b) to compel the
    9      employer to produce records for an audit and to recover monthly employee fringe
   10      benefit contributions and related damages due to the plans by the employer,
   11      including the amounts, if any, determined through the audit, and the amounts
   12      presently known to be due (“Claim 2”); (c) to compel the employer to timely and
   13      fully report and pay its monthly fringe benefit contributions to the plans on behalf of
   14      its employees (“Claim 3”); (d) to hold employer’s principal jointly liable for all or a
   15      portion of the amounts owed by the employer as a fiduciary to the plans (“Claim 4”);
   16      and (e) to recover all monetary damages resulting from the EMPLOYER’S breach of
   17      the Settlement and Tolling Agreement (“Claim “5”)
   18           2.     This Court has jurisdiction pursuant to: sections 502(g)(2) and 515 of the
   19      Employee Retirement Income Security Act (ERISA) (codified at 29 U.S.C. §§
   20      1132(g)(2) and 1145); section 502(a)(3) of ERISA (codified at 29 U.S.C. §
   21      1132(a)(3)); and section 301 of the Labor Management Relations Act (LMRA)
   22      (codified at 29 U.S.C. § 185); and ERISA sections 502(a)(3), 405 and 409(a),
   23      codified at 29 U.S.C. §§ 1132(a)(3), 1105 and 1109(a). This Court also has
   24      supplemental jurisdiction over the claims relating to employer’s breach of a
   25      settlement agreement pursuant to 28 U.S.C. § 1367(a). Pursuant to section 502(e)(2)
   26      of ERISA (codified at 29 U.S.C. § 1132(e)(2)), venue is proper in this district for
   27      each of the following reasons: the plans are administered in this district; the
   28      employer's performance and breach took place in this district; and the employer

433196.2                                              2
    Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 3 of 19 Page ID #:3




    1      resides or may be found in this district.
    2
    3                                            PARTIES
    4           3.     Plaintiff ("CLTF") is an administrator of, agent for collection for, a
    5      fiduciary to, and brings this action on behalf of the following employee benefit
    6      plans: Laborers Health and Welfare Trust Fund for Southern California;
    7      Construction Laborers Pension Trust for Southern California; Construction Laborers
    8      Vacation Trust for Southern California; Laborers Training and Re-Training Trust
    9      Fund for Southern California; Fund for Construction Industry Advancement; Center
   10      for Contract Compliance; Laborers Contract Administration Trust Fund for Southern
   11      California; Laborers' Trusts Administrative Trust Fund for Southern California; and
   12      Southern California Partnership for Jobs Trust Fund (collectively "TRUST
   13      FUNDS"). Each of the Trust Funds is an express trust created by written agreement,
   14      an employee benefit plan within the meaning of section 3(3) of ERISA (29 U.S.C.
   15      § 1002(3)), and a multi-employer plan within the meaning of section 3(37)(A) of
   16      ERISA (29 U.S.C. § 1002(37)(A)). Each of the Trust Funds exists pursuant to
   17      ERISA and section 302 of the LMRA (29 U.S.C. § 186). CLTF and the Trust Funds'
   18      principal places of business are in the County of Los Angeles, State of California.
   19           4.     CLTF is a fiduciary as to the Trust Funds, in that it:
   20                  A.     Exercises discretionary authority or discretionary control
   21                  respecting the collection of delinquent (or possibly delinquent)
   22                  contributions to the Trust Funds, including but not limited to discretion
   23                  in auditing employers, deciding what claims to assert, acting as agent of
   24                  the Trust Funds in asserting claims, waiving liquidated damages, settling
   25                  claims, and releasing claims; and
   26                  B.      Exercises authority or control respecting management or
   27                  disposition of assets of the Trust Funds, including but not limited to,
   28                  receiving delinquent contributions collected and holding them in a bank

433196.2                                               3
    Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 4 of 19 Page ID #:4




    1                  account in its own name over which it has check-writing authority, and
    2                  then exercising discretion in allocating those assets among the different
    3                  Trust Funds, different participants, different time periods and different
    4                  jobs.
    5           5.     CLTF is informed and believes, and on that basis alleges, that defendant
    6      STREAMLINE INTEGRATION, (“Employer”) is a corporation organized and
    7      existing under the laws of the State of California; has a principal place of business in
    8      the City of Lancaster, County of Los Angeles, State of California; and does, or at all
    9      relevant times did, business in the State of California as a construction contractor in
   10      an industry affecting interstate commerce.
   11           6.     CLTF is informed and believes, and on that basis alleges, that defendant,
   12      BRIAN THOMAS ARMSTRONG, (“ARMSTRONG”) an individual, is the chief
   13      executive officer of EMPLOYER and principal shareholder of EMPLOYER, who is
   14      engaged in business in the City of Lancaster, State of California, and resides in the
   15      County of Los Angeles, State of California.
   16
   17                                          OTHERS
   18           7.     The Laborers International Union of North America, AFL-CIO, and the
   19      Southern California District Council of Laborers and its affiliated Local Unions,
   20      ("UNION") are, and at all relevant times was, labor organizations representing
   21      employees affecting interstate commerce. The UNION is not a party to this action.
   22
   23                                 INDIVIDUAL DEFENDANT
   24           8.     Plaintiff is informed and believes and thereon alleges that
   25      ARMSTRONG is responsible for running the day-to-day operations of the
   26      EMPLOYER and is responsible for decisions pertaining to the management and
   27      operation of EMPLOYER, including the financial business decisions relating to
   28      EMPLOYER.

433196.2                                              4
    Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 5 of 19 Page ID #:5




    1           9.     Plaintiff is informed and believes and thereon alleges that at all times
    2      herein, ARMSTRONG, is the majority shareholder of EMPLOYER and beneficial
    3      owner of EMPLOYER.
    4           10.    Plaintiff is informed and believes and thereon alleges that
    5      ARMSTRONG acted on behalf of and in the interest of each of EMPLOYER in all
    6      aspects of labor relations and in their dealings and relations with the TRUST
    7      FUNDS, and the UNION.
    8
    9                                   FIRST CLAIM FOR RELIEF
   10                      CONTRIBUTIONS OWED TO THE TRUST FUNDS
   11                                      (AGAINST EMPLOYER)
   12                                     [29 U.S.C. §§ 185 and 1145]
   13           11.    Plaintiff repeats and realleges and incorporates herein by reference each
   14      and every allegation contained in paragraphs 1 through 11, above.
   15
   16                                           AGREEMENTS
   17           12.    At all times mentioned, defendant EMPLOYER, was and continues to
   18      be signatory to written Collective Bargaining Agreements with the UNION, having
   19      executed a Laborers Short Form Agreement for the Construction Industry with the
   20      UNION with an effective date of July 26, 2020 (“Short Form Agreement”).
   21           13.    Pursuant to the Short Form Agreement, EMPLOYER became bound to
   22      the UNION’S Construction Master Laborers Agreements, including one known as
   23      the Southern California Master Labor Agreement (“MLA”).
   24           14.    Pursuant to the Short Form Agreement and the UNION’S Construction
   25      Master Laborers Agreements including the MLA, EMPLOYER also became
   26      obligated to all the terms and conditions of the various Trust Agreements which
   27      created each of the TRUST FUNDS as they may be constituted in their original form
   28      or as they may be subsequently amended. The referenced Agreements will be

433196.2                                              5
    Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 6 of 19 Page ID #:6




    1      collectively referred to as "AGREEMENTS".
    2           15.    The AGREEMENTS obligate EMPLOYER to pay fringe benefit
    3      contributions at the rates set forth in the AGREEMENTS for each hour worked (or
    4      paid for) by employees performing services covered by the AGREEMENTS
    5      ("Monthly Contributions"). EMPLOYER is additionally required to submit monthly
    6      reports (“Monthly Reports”) with these Monthly Contributions, detailing the name,
    7      address, social security number and hours worked that month for each employee
    8      covered by the AGREEMENTS and those Monthly Reports are required to be
    9      submitted even where there are no employees to report for the reporting period.
   10           16.    The TRUST FUNDS depend on the truth and accuracy of this
   11      information, in order to not only determine the correct amount of Monthly
   12      Contributions due, but to fulfill their own fiduciary duties to properly credit
   13      participants towards the benefits provided by the TRUST FUNDS. Those Monthly
   14      Contributions constitute assets of the TRUST FUNDS, pursuant to the terms of the
   15      AGREEMENTS and applicable law, from the time they are due and can be
   16      reasonably segregated from other funds. The Trustees of the TRUST FUNDS have
   17      a fiduciary duty to marshal those assets so that they may be applied for the benefit of
   18      the participants and beneficiaries in accordance with the various Trust Agreements.
   19           17.    By the AGREEMENTS and pursuant to 29 U.S.C. § 1132(g)(2)(C),
   20      EMPLOYER is obligated to pay to the TRUST FUNDS, as and for liquidated
   21      damages for detriment caused by the failure of EMPLOYER to pay fringe benefit
   22      Monthly Contributions in a timely manner, a sum equal to $25.00 or twenty percent
   23      (20%) of the unpaid Monthly Contributions or interest on the unpaid Monthly
   24      Contributions at rates established pursuant to the AGREEMENTS from their
   25      respective due dates, whichever is the greater amount, for each of the TRUST
   26      FUNDS to which EMPLOYER is required to contribute.
   27           18.    Under the terms of the AGREEMENTS employers, including
   28      EMPLOYER, agree to subcontract work covered under the terms of the

433196.2                                              6
    Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 7 of 19 Page ID #:7




    1      AGREEMENTS only to entities that are signatory to a Labor Agreement with the
    2      UNION applicable to the work performed. If an employer subcontracts work
    3      covered under the Labor Agreements to a non-signatory entity (“Subcontracting
    4      Violation(s)”), the employer, including EMPLOYER, becomes liable to the TRUST
    5      FUNDS in an amount equal to the Monthly Contribution that would have been due if
    6      the entity had been signatory, plus interest, liquidated damages and audit fees
    7      thereon.
    8            19.   Under the terms of the AGREEMENTS, employers, including
    9      EMPLOYER, agree not to subcontract work covered under the terms of the
   10      UNION’s Labor Agreements to entities that are delinquent to the TRUST FUNDS.
   11      If an employer subcontracts any work covered under said Labor Agreements to such
   12      an entity the employer, including EMPLOYER becomes liable to the TRUST
   13      FUNDS for the Monthly Contributions due by the subcontractor and any lower-tier
   14      subcontractors, plus interest and audit fees thereon.
   15            20.   By the AGREEMENTS and pursuant to 29 U.S.C. § 1132(g)(2)(B),
   16      EMPLOYER is obligated for payment of interest on delinquent Monthly
   17      Contributions from the due date of the contribution through the payment date of the
   18      contribution, at the variable per annum rate of five percent (5%) over the rate set by
   19      the Federal Reserve Board at San Francisco, California, effective on the date each
   20      contribution is due.
   21            21.   The AGREEMENTS provide the TRUST FUNDS with specific
   22      authority to examine and copy all of EMPLOYER’S payroll and business records
   23      which may be pertinent to determining whether EMPLOYER has reported all hours
   24      worked (or paid for) by employees who perform services covered under the
   25      AGREEMENTS and has paid the appropriate Monthly Contributions to the TRUST
   26      FUNDS, and that the EMPLOYER shall be responsible for the costs of such audit.
   27      ///
   28      ///

433196.2                                              7
    Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 8 of 19 Page ID #:8




    1                                     BREACH OF AGREEMENTS
    2            22.    Plaintiff is informed and believes and based on such information and
    3      belief alleges that EMPLOYER employed workers who performed services covered
    4      by the AGREEMENTS and failed to pay the rates specified in the AGREEMENTS
    5      to TRUST FUNDS on behalf of those workers for each hour worked (or paid for) by
    6      employees performing services covered by the AGREEMENTS. Due to
    7      EMPLOYER’S failure to comply with a complete audit by the TRUST FUNDS and
    8      their continuing monthly reporting and payment obligations under the
    9      AGREEMENTS, additional amounts may be discovered and become due and owing
   10      by EMPLOYER which cannot be ascertained at this time. Said amounts will be
   11      established by proof at the trial or other hearing.
   12            23.    All conditions to EMPLOYER'S obligations to make payments under
   13      the AGREEMENTS have been met.
   14
   15                                         DAMAGES
   16            24.    As a result of EMPLOYER'S failure to pay the rates specified in the
   17      AGREEMENTS, Plaintiff is informed and believes and thereupon alleges that there
   18      is now owing and unpaid to the TRUST FUNDS from EMPLOYER, during the
   19      period from October 2020, February 2021 through July 2021, damages in the sum of
   20      at least $51,329.65, consisting of $41,927.19 in unpaid Monthly Contributions,
   21      $8,373.19 in liquidated damages; and $1.1026.68 in interest on the late and/or
   22      unpaid Monthly Contributions owed to the TRUST FUNDS through December 1,
   23      2021, plus additional accrued interest thereafter at the variable plan rate(s),
   24      currently 5.25% per annum, until payment of the Monthly Contribution is made, as
   25      well as any additional Monthly Contributions, liquidated damages, audit fees and
   26      interest on any amounts discovered to be owed at the plan rate(s) according to proof
   27      at the time of trial or other hearing.
   28            25.    The failure of the EMPLOYER to pay Monthly Contributions when due

433196.2                                               8
    Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 9 of 19 Page ID #:9




    1      and/or paying workers outside of payroll causes harm to the TRUST FUNDS and its
    2      participants, which is impractical to accurately quantify. This may include the cost
    3      of collecting the Monthly Contributions from the EMPLOYER or third parties (not
    4      including the costs of this litigation), the cost of special processing to restore benefit
    5      credits because of late Monthly Contributions, the temporary loss of insurance
    6      coverage by employees (even if later restored) and medical harm to participants and
    7      beneficiaries who may have foregone medical care when notified that medical
    8      insurance ceased because of their employer's failure to pay Monthly Contributions.
    9      The liquidated damages provision of the AGREEMENTS was meant to compensate
   10      for this unquantifiable loss, and is based on the ratio of collection costs over
   11      amounts collected, regularly reported to the Trustees. The Trustees of the TRUST
   12      FUNDS have the authority, in their discretion, to waive all or part of these liquidated
   13      damages. In this case, they have exercised their discretion by declining to waive any
   14      liquidated damages.
   15            26.     It has been necessary for the TRUST FUNDS to engage counsel to bring
   16      this action to compel compliance with the AGREEMENTS which provide that in the
   17      event litigation is necessary with respect to any of the fringe benefit Monthly
   18      Contributions and/or damages against EMPLOYER, then EMPLOYER would pay
   19      reasonable attorney's fees and all other reasonable expenses of collection, including
   20      audit fees.
   21            27.     Under Sections 515 and 502(g) of ERISA, EMPLOYER is liable to the
   22      TRUST FUNDS not only for the amount of delinquent Monthly Contributions but
   23      also for the following: (a) for pre-judgment and post-judgment interest on the
   24      delinquent sums (as provided for in Section 502(g) of ERISA); (b) for the higher of
   25      interest or liquidated damages (as provided for in Section 502(g) of ERISA); (c) for
   26      attorneys' fees; and (d) for other relief permitted by Section 502(g) of ERISA.
   27      ///
   28      ///

433196.2                                               9
   Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 10 of 19 Page ID #:10




    1                                  SECOND CLAIM FOR RELIEF
    2                      SPECIFIC PERFORMANCE COMPELLING AUDIT
    3                                          (Against EMPLOYER)
    4           28.    Plaintiff realleges and incorporates herein by reference each and every
    5      allegation contained in paragraphs 1 through 27, inclusive as though fully set forth
    6      herein.
    7           29.    Plaintiff’s claim herein is for specific performance of the
    8      AGREEMENTS.
    9           30.    Pursuant to the AGREEMENTS and 29 U.S.C. § 1059(a)(1), the
   10      TRUST FUNDS have specific authority to examine the payroll and business records
   11      of employers, including the EMPLOYER, to determine whether they have reported
   12      and paid contributions on all hours worked by (or paid for) their employees and/or
   13      independent contractors who perform work covered under the AGREEMENTS, and
   14      whether they have otherwise abided by the payment obligations of the
   15      AGREEMENTS. The AGREEMENTS further provide that employers, including
   16      the EMPLOYER, shall pay the TRUST FUNDS’ attorney’s fees if legal action is
   17      necessary to compel the audit, and audit fees to complete the audit of
   18      EMPLOYER’S records and the TRUST FUNDS have delegated the authority to
   19      perform such audits to Plaintiff.
   20           31.    Plaintiff has requested access to EMPLOYER'S payroll and business
   21      records for the purpose of conducting an audit covering the period from June 26,
   22      2020 to date; however, EMPLOYER through ARMSTRONG has produced only a
   23      few records, and has ignored and/or refused to allow the TRUST FUNDS a
   24      completed audit of its payroll and business records on all projects worked on by
   25      EMPLOYER under the terms of the AGREEMENTS, and under 29 U.S. C. §
   26      1059(a)(1), 29 U.S.C. § 1145.
   27           32.    The TRUST FUNDS have no adequate or speedy remedy at law in that
   28      EMPLOYER and ARMSTRONG have ignored further demands for their

433196.2                                             10
   Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 11 of 19 Page ID #:11




    1      cooperation with the audit, and have failed and/or refused to comply with the
    2      production of all payroll and business records necessary for a complete audit.
    3      Plaintiff therefore respectfully requests that the Court exercise its authority under 29
    4      U.S.C. §§ 1132(g)(2)(E) and 1132(a)(3) to order the EMPLOYER through
    5      ARMSTRONG to comply with their obligation under the AGREEMENTS and
    6      ERISA to fully produce its payroll and business records in order for Plaintiff to
    7      complete an audit to determine if additional amounts are due.
    8           33.    Upon completion of the audit sought herein, Plaintiff will seek recovery
    9      of any delinquent contributions found due, as well as liquidated damages, audit
   10      costs, other damages, interest in addition to attorneys’ fees and costs as provided for
   11      by AGREEMENTS and under sections 502(g)(1) and/or (g)(2) of ERISA (29 U.S.C.
   12      § 1132(g)(1) and/or (g)(2)).
   13
   14                                     THIRD CLAIM FOR RELIEF
   15                          (For Injunctive Relief Compelling Submission of
   16                     Fringe Benefit Contributions to Employee Benefit Plans)
   17           34.    Plaintiff repeats, realleges and incorporates by reference each and every
   18      allegation contained in paragraphs 1 through 33 above as if fully set forth here.
   19      EMPLOYER has repeatedly failed to timely submit timely Monthly Reports and
   20      Monthly Contributions, as disclosed by EMPLOYER’S Monthly Reports for time
   21      periods from February 2021 to July 2021 and its failure to submit any Monthly
   22      Reports thereafter. Further, the audit of partial record produced by EMPLOYER
   23      disclosed that all hours worked by EMPLOYER’S employees were not reported to
   24      the TRUST FUNDS in violation of the reporting and payment obligations of the
   25      AGREEMENT, and EMPLOYER has failed to comply with the production of any
   26      additional records for a complete audit.
   27           35.    By reason of EMPLOYER'S failure to comply with its Monthly
   28      Reporting and Monthly Contribution obligations and to allow a complete audit of its

433196.2                                              11
   Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 12 of 19 Page ID #:12




    1      records, the TRUST FUNDS, its participants and/or its beneficiaries have suffered
    2      and will continue to suffer hardship and actual and impending irreparable injury and
    3      damage for at least the following reasons. First, where Monthly Contributions are
    4      due, but not paid, the TRUST FUNDS lose the use of the unpaid funds (both for
    5      investment purposes and the payment of claims). Second, the TRUST FUNDS incur
    6      substantial costs in the special processing of Monthly Contributions that are paid, or
    7      otherwise recovered, after the date due, in order to provide employee fringe benefit
    8      credits and restore eligibility. Third, the TRUST FUNDS incur a liability for
    9      pension benefits for employee work even if Monthly Contributions are not paid and
   10      incur liability for health insurance claims for a certain period of employer non-
   11      payment of Monthly Contributions. Fourth, the TRUST FUNDS have an obligation
   12      to take steps to collect amounts due by delinquent employers. Thus, ongoing
   13      employer delinquencies result in an ongoing drain on TRUST FUNDS resources.
   14      Fifth, the amount of benefits payable to all participants and beneficiaries for health
   15      insurance and pension claims is actuarially determined on the basis of funds
   16      projected to be received from contributing employers. Employer delinquencies
   17      complicate that determination and result in a reduction of benefits to all employees.
   18      Sixth, employer delinquencies have an intangible effect on the construction industry
   19      as a whole, doing damage to the TRUST FUNDS collection mechanism;
   20      specifically, when it is discovered that one contractor is substantially delinquent to
   21      the TRUST FUNDS, contractors engaged in the same type of work may feel that
   22      they are operating at a competitive disadvantage and withhold their Monthly
   23      Contributions until that competitive disadvantage has been removed. Seventh,
   24      employees are harmed because health insurance is not provided to them and their
   25      dependents after a certain period of non-payment of Monthly Contributions on their
   26      behalf. In addition to loss of health insurance, harm caused to employees can
   27      include medical harm if they forego medical care when notified that insurance
   28      ceased because of their employer's failure to pay Monthly Contributions. Eighth,

433196.2                                              12
   Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 13 of 19 Page ID #:13




    1      employees are also harmed in that they are entitled to vacation pay only for hours of
    2      Covered Work for which Monthly Contributions are paid. Ninth, the TRUST
    3      FUNDS have no basis for providing credits toward eligibility for pensions for
    4      unknown hours of Covered Work.
    5           36.    The TRUST FUNDS have no adequate or speedy remedy at law. They
    6      therefore request that this Court exercise its authority under sections 502(g)(2)(E)
    7      and 502(a)(3) of ERISA (29 U.S.C. §§ 1132(g)(2)(E) and 1132(a)(3) to issue
    8      preliminary and permanent injunctive relief ordering the EMPLOYER to comply
    9      with its obligations under the AGREEMENTS and section 515 of ERISA (29 U.S.C.
   10      § 1145) to fully disclose its employees’ Covered Work on its Monthly Reports, and
   11      work by any workers paid outside of payroll as “vendors” or other designations who
   12      are not licensed contractors and perform work on EMPLOYER’S projects, itemized
   13      by project, and timely submit the Monthly Reports each month with full payment of
   14      the Monthly Contributions due.
   15           37.    An award of attorneys’ fees and costs is provided for by
   16      AGREEMENTS and under sections 502(g)(1) and/or (g)(2) of ERISA (29 U.S.C. §
   17      1132(g)(1) and/or (g)(2)).
   18
   19                               FOURTH CLAIM FOR RELIEF
   20                    FOR MONETARY DAMAGES FOR BREACH OF
   21                                   SETTLEMENT AGREEMENT
   22                          (AGAINST EMPLOYER and ARMSTRONG)
   23           38.    Plaintiff repeats and realleges and incorporates herein by referenced
   24      each and every allegation contained in paragraphs 1 through 27, as if fully set forth.
   25           39.    The TRUST FUNDS, the EMPLOYER and ARMSTRONG entered
   26      into a conditional settlement ("Settlement Agreement") with respect to the known
   27      amounts owed by EMPLOYER on Monthly Reports for time periods from February
   28      2021 to May 2021 which totaled $32,469.29 including interest through July 9, 2021

433196.2                                             13
   Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 14 of 19 Page ID #:14




    1      ("CLAIM"). In and by the terms of the Settlement Agreement, the TRUST FUNDS
    2      agreed to a payment arrangement with EMPLOYER and ARMSTRONG upon
    3      compliance with express conditions set forth in the Settlement Agreement.
    4      EMPLOYER and ARMSTONG agreed to be individually, jointly and severally
    5      liable for payment of the CLAIM in consideration for the reduction of the amounts
    6      owed by EMPLOYER to be paid under the terms of the payment arrangement if the
    7      terms of the Settlement Agreement were successfully concluded.
    8           40.    Under the express terms of the Settlement Agreement, the following
    9      constitutes a default and/or breach of the Settlement Agreement by EMPLOYER
   10      and ARMSTRONG: (1) failure to timely remit payment of the monthly payments as
   11      provided for by the terms of the Settlement Agreement; (2) failure to comply with
   12      EMPLOYER’s obligations under the terms of the AGREEMENTS to timely submit
   13      Monthly Reports disclosing all of the hours worked by employees for which
   14      Monthly Contributions are due with payment of the Monthly Contributions due; and
   15      (3) failure to comply fully with an audit of EMPLOYER’s records.
   16           41.    The EMPLOYER breached the Settlement Agreement by failing (1) to
   17      submit the monthly payments due under the provisions of the Settlement Agreement;
   18      (2) by submitting its June 2021 and July 2021 Monthly Reports without payment,
   19      and thereafter by failing to submit any Monthly Reports whatsoever; by curing its
   20      default in the Settlement Agreement by submitting all missing monthly payments,
   21      and submitting the amounts due on the June 2021 and July 2021 Monthly Reports,
   22      and thereafter (3) by failure to comply with the audit of its records, all of which
   23      constitute a breach in the terms of the Settlement Agreement, as well as a breach in
   24      the terms of reporting and payment obligations, as well as the auditing provisions,
   25      under the terms of the AGREEMENTS.
   26           42.    As a result of the EMPLOYER’s and ARMSTRONG’s breach of the
   27      Settlement Agreement the conditions in the Settlement Agreement were not met and
   28      the Settlement Agreement does not bar collection of any unsatisfied amounts of that

433196.2                                              14
   Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 15 of 19 Page ID #:15




    1      delinquency by any lawful means; therefore, under the terms of the Settlement
    2      Agreement, the full amount of the CLAIM, upon breach, became immediately due
    3      and owing by the EMPLOYER and by ARMSTRONG to the TRUST FUNDS, plus
    4      interest at the TRUST FUNDS' plan rate(s). The amount due by the EMPLOYER
    5      and ARMSTRONG for their breach of the Settlement Agreement totals $33,144.92
    6      including $675.63 in interest to December 1, 2021, plus additional interest thereafter
    7      which has and will continue to accrue at the plan rate(s) until fully paid. Any and all
    8      conditions to the EMPLOYER's obligations under the Settlement Agreement to pay
    9      this amount have been met.
   10            43.    Under the terms of the Settlement Agreement, Plaintiff is entitled to an
   11      award of its attorneys’ fees and costs.
   12
   13            WHEREFORE, CLTF prays for judgment as follows:
   14
   15                     FOR THE TRUST FUNDS' FIRST CLAIM FOR RELIEF
   16            1.     For the sum of at least $41,927.78 in delinquent fringe benefit
   17      contributions pursuant to the AGREEMENTS and pursuant to 29 U.S.C.
   18      § 1132(g)(2)(A);
   19            2.     For the sum of at least $8,373.19 in liquidated damages as required by
   20      the AGREEMENTS and 29 U.S.C. § 1132(g)(2)(C);
   21            3.     Interest in the amount not less than $1,028.68 on the late paid or unpaid
   22      fringe benefit contributions as required by the AGREEMENTS and pursuant to 29
   23      U.S.C. § 1132(g)(2), and 1132(g)(2)(E) from the date the contributions became due
   24      through December 1, 2021, plus additional accrued interest thereafter at the plan
   25      rate(s), currently 5.25 percent per annum;
   26            4.     For additional Monthly Contributions and liquidated damages, audit
   27      costs, subcontracting violations, and/or other damages, according to proof at the time
   28      of trial or hearing, plus interest as provided by law from the date contributions

433196.2                                                15
   Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 16 of 19 Page ID #:16




    1      became due;
    2            6.      For reasonable attorneys' fees;
    3            7.      For the costs of suit herein; and
    4            8.      For such other and further relief as the Court deems proper.
    5
    6                       FOR TRUST FUNDS' SECOND CLAIM FOR RELIEF
    7            1.      That EMPLOYER, its managing employees, agents, accountants,
    8      managing officers including ARMSTRONG and all persons acting by, thorough, or
    9      in concert with the EMPLOYER be compelled to forthwith submit to an audit of
   10      EMPLOYER's payroll and business records and that EMPLOYER produce the
   11      following payroll and business records on all companies named in paragraph 13 of
   12      this complaint to the TRUST FUNDS for inspection, examination and copying
   13      covering the period from June 26, 2020 to the date of the audit:
   14                    1.1.   All payroll and employee documents including, but not limited to,
   15                           EMPLOYER'S payroll journals, employees earning records,
   16                           certified payrolls, payroll check books and stubs, canceled payroll
   17                           checks, payroll time cards, state and federal payroll tax returns,
   18                           labor distribution journals, any other documents reflecting the
   19                           number of hours which EMPLOYER'S employees worked, their
   20                           names, social security numbers, addresses, job classifications on
   21                           all projects on which the employees performed their work.
   22                    1.2.   All records and documents reflecting the hours worked, amounts
   23                           paid to any employment agency for individuals utilized on
   24                           EMPLOYER’s projects, including day laborers, independent
   25                           contractors, subcontractors or other individuals utilized by
   26                           EMPLOYER for work on its projects who are paid to work on
   27                           EMPLOYER’s projects, the hours worked by said individuals on
   28                           each of EMPLOYER’s projects and amounts paid by

433196.2                                                16
   Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 17 of 19 Page ID #:17




    1                          EMPLOYER to said individuals for their work on the projects.
    2                   1.3.   The job/project files including all documents, agreements, and
    3                          contracts between EMPLOYER'S and any general contractors,
    4                          subcontractors, independent contractors, vendors, employment
    5                          agencies supplying workers, builders and/or developers, field
    6                          records, job records, notices, project logs, supervisor's diaries or
    7                          notes, employees diaries, memorandum, releases and any other
    8                          documents which related to the supervision of EMPLOYER'S
    9                          employees and/or other workers utilized by EMPLOYER on the
   10                          projects on which they performed their work.
   11                   1.4.   All EMPLOYER'S documents related to cash receipts, including
   12                          but not limited to, the cash receipts journals, accounts receivable
   13                          journal, accounts receivable subsidiary ledgers and billing
   14                          invoices.
   15                   1.5.   EMPLOYER'S bank statements for all checking, and savings
   16                          accounts.
   17                   1.6.   EMPLOYER'S documents related to cash disbursements,
   18                          including but not limited to, vendors' invoices, cash disbursement
   19                          journal, accounts payable journals, check registers, and all other
   20                          documents which indicate cash disbursements.
   21                   1.7.   All Collective Bargaining Agreements between EMPLOYER'S
   22                          and any trade union and all Monthly Report Forms submitted by
   23                          EMPLOYER to any union trust fund.
   24            2.     For any delinquent contributions, liquidated damages, subcontracting
   25      violations, interest, audit costs, attorney’s fees and costs as required by the
   26      Agreements and ERISA § 502(g)(2), 29 U.S.C. § 1132(g)(2) according to proof at the
   27      time of trial or other hearing;
   28            3.     For reasonable attorneys' fees;

433196.2                                               17
   Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 18 of 19 Page ID #:18




    1           4.    For TRUST FUNDS' costs of suit herein;
    2           5.    For such other and further relief as the Court deems proper.
    3
    4                        FOR TRUST FUNDS' THIRD CLAIM FOR RELIEF
    5           1.    That this Court issue the following preliminary and permanent
    6      prohibitory and mandatory injunctions against EMPLOYER, its agents, managing
    7      employees, successors, assigns, managing officers, ARMSTRONG and all those in
    8      active concert or participation with EMPLOYER:
    9                 1.1.    That EMPLOYER be ordered to deliver the following, or cause to
   10                         be delivered, to the TRUST FUNDS' offices no later than 4:30
   11                         p.m., on the 20th day of each month for the duration of the
   12                         AGREEMENTS commencing with EMPLOYER’S August 2021
   13                         Monthly Report:
   14                 1.2.    A complete, truthful and accurate "Employers Monthly Report to
   15                         Trustees" covering all employees which EMPLOYER employed
   16                         during the report month.
   17                 1.3.    An affidavit or declaration from ARMSTRONG on behalf of
   18                         EMPLOYER attesting from his own personal knowledge under
   19                         pain of perjury to the completeness, truthfulness and accuracy of
   20                         the Employers Monthly Report to the Trustees; and
   21                 1.4.    A cashier's check made payable to the California Laborers Trust
   22                         Funds for Southern California for the full amount of the fringe
   23                         benefit contributions due on Employers Monthly Reports for each
   24                         account for which a report is to be submitted.
   25           2.    For reasonable attorney's fees;
   26           3.    For costs of suit herein; and
   27           4.    For such other and further relief as the Court deems proper and just.
   28

433196.2                                              18
   Case 2:21-cv-09531-SB-JPR Document 1 Filed 12/09/21 Page 19 of 19 Page ID #:19




    1                    FOR TRUST FUNDS' FOURTH CLAIM FOR RELIEF
    2            1.      For $32,469.29 plus additional accrued interest in the sum of $675.63
    3      from July 9, 2021 to December 1, 2021 pursuant to the Settlement Agreement and
    4      applicable law, including but not limited to California Civil Code § 3302 and 29
    5      U.S.C. § 1132(g)(2);
    6            2.      For an additional accrued interest at the TRUST FUNDS' plan rate(s),
    7      currently 5.250% per annum after December 1, 2021, pursuant to terms of the
    8      Settlement Agreement and applicable law, including but not limited to California
    9      Civil Code §§ 3287, 3289 and 3302, and 29 U.S.C. § 1132(g)(2);
   10            3.      For attorneys’ fees and costs of collection, pursuant to the Settlement
   11      Agreement and applicable law, including but not limited to California Civil
   12      Procedure Code § 1032(b) and California Civil Code § 1717 and 29 U.S.C. §
   13      1132(g)(2);
   14            4.      For such other relief that this Court deems appropriate, pursuant to any
   15      authority of the Court, including, but not limited to, the authority established by
   16      29 U.S.C. §§ 1132(g)(2)(E) and 1132 (a)(3)(B).
   17                                              Respectfully submitted,
   18                                              ALEXANDER B. CVITAN
                                                   MARSHA M. HAMASAKI and
   19                                              PETER A. HUTCHINSON,
                                                   ZANE T. PRECIADO, Members of
   20                                              REICH, ADELL & CVITAN
                                                   A Professional Law Corporation
   21
   22      DATED: December 8, 2021
                                                   By: /s/ Marsha M. Hamasaki
   23                                                   MARSHA M. HAMASAKI
                                                           Attorneys for Plaintiff
   24
   25
   26
   27
   28

433196.2                                               19
